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 8
                                  UNITED STATES DISTRICT COURT
 9
                                 NORTHERN DISTRICT OF CALIFORNIA
10

11   RICHARD EARL MAY, JR.,                    )
     Individually,                             )     No. 3:16-cv-00252-LB
12                                             )
                                               )     Hon. Laurel Beeler
13                  Plaintiff,                 )
     vs.                                       )     PLAINTIFF'S RESPONSE IN
14                                             )     OPPOSITION TO DEFENDANTS'
     SAN MATEO COUNTY, a public entity;        )     MOTION IN LIMINE #1 TO EXCLUDE
15   SAN MATEO COUNTY SHERIFF’S                )     EVIDENCE OF DEFENDANTS'
                                               )     PERSONNEL MATTERS AND
16   DEPUTY CHRIS LAUGHLIN; DEPUTY                   DISCIPLINARY HISTORY
     ERIC MICHEL; and DOES 1 through 10,       )
                                               )     UNRELATED TO THE INCIDENT
17   individually, Jointly and Severally,      )
                                               )     Trial Date: June 5, 2017
18                  Defendants.                )     Time: 8:30 a.m.
                                               )     Place: Courtroom C, 15th Floor
19                                             )     Final Pretrial Conference: May 18, 2017
                                               )     1:00 p.m.
20                                             )
                                               )
21                                             )
                                               )
22                                             )
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            Plaintiff agrees that Defendant Laughlin’s prior personnel matters and disciplinary
 1

 2   history—as well as commendations and awards—should be excluded unless necessary for

 3   impeachment, or if Defendant Laughlin opens the door to such evidence by, for example, claiming

 4   he has never received any complaints about his performance. However, Plaintiff opposes this
 5   motion to the extent that it seeks to exclude evidence of Defendant Laughlin's non-compliance
 6
     with policies regarding the deployment of Riggs. Defendants' Motion in Limine #1 seeks to
 7
     exclude "evidence testimony, and arguments related to Defendants' personnel, employment, and
 8
     complaint/disciplinary history and investigations and reports of other incidents involving use
 9

10   of force unrelated to the incident on January 1, 2015." Plaintiff intends to introduce evidence

11   regarding San Mateo County Sheriff's Office Apprehension Report dated July 14, 2014. This

12   apprehension report determined that Defendant Laughlin did not follow the Department's policies
13
     when deploying a canine and is directly relevant to Plaintiff's claims and issues. (Exhibit A to the
14
     Supplemental Declaration of T. Kennedy Helm). 1
15
            Federal Rule of Evidence 404(b) allows evidence of "other crimes, wrongs, or acts" for
16
     purposes "such as proof of motive, opportunity, intent, preparation, plan, knowledge, identity, or
17

18   absence of mistake or accident." "In the Ninth Circuit, 'other act evidence is admissible under

19   Rule 404(b) if the following test is satisfied:
20                  (1) there must be sufficient proof for the jury to find that the defendant committed
21                  the other act; (2) the other act must not be too remote in time; (3) the other act must
                    be introduced to prove a material issue in the case; and (4) the other act must in
22                  some cases be similar to the offense charged.'"

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     1
26     All exhibits in Plaintiff’s Responses in Opposition to Defendants’ Motions in Limine are
     attached to the Supplemental Declaration of T. Kennedy Helm in Support of Plaintiff’s Responses
27   in Opposition to Defendants’ Motions in Limine.
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     Hunter v. City & County of San Francisco, No. 11-4911 JSC, 2013 U.S. Dist. LEXIS 106909, at
 1

 2   *9 (N.D. Cal. July 25, 2013) (quoting Duran v. City of Maywood, 221 F.3d 1127, 1132–33 (9th

 3   Cir. 2000)).

 4          Here, Defendant Laughlin's own canine coordinator and trainer opined that Defendant
 5   Laughlin failed to comply with both San Mateo County Sheriff's Office General Order 5-01 and
 6
     Canine Services Manual 5-01. He based his opinion on his own training and experience and the
 7
     totality of the circumstances and his subsequent investigation. Defendant Laughlin’s violation
 8
     was only six months prior to the current incident. The violation is admissible to show Defendant
 9

10   Laughlin’s absence of mistake, and knowledge about the standards for canine deployment before

11   the Richard May incident. Additionally, this particular apprehension report is relevant to whether

12   Defendant Laughlin's conduct violated generally accepted law enforcement training, standards,
13
     and policies, and to Defendant Laughlin’s recklessness and liability for punitive damages, as he
14
     chose to deploy a canine to attack a nonviolent person six months before he made the very same
15
     decision in this case.
16
            Finally, this report is more probative than prejudicial because Defendant Laughlin’s use of
17

18   the canine in this case was similar to his use in the earlier case. For example, the sergeant noted

19   that the suspect in that case had committed "a simple battery". Furthermore, "the suspect did not
20   attempt to engage [the officers] and his apparent goal was to flee from them. For these reasons
21
     alone, I believe Deputy Laughlin was not in compliance with [department policies]." (Ex. A, at
22
     CSM_03347). Here, Plaintiff's suspected crime was at worst commercial burglary, a wobbler.
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     Second, even viewing the facts entirely favorably to Defendants, the only reason Deputy Laughlin
24

25   sicced Riggs on Mr. May was because supposedly Mr. May moved slowly into the shadows,

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     which Deputy Laughlin took to mean Mr. May was trying to escape. Just six month earlier,
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 2   Defendant Laughlin's own canine sergeant said that was an unacceptable reason to deploy Riggs.

 3          For the forgoing reasons, to the extent that Defendants seek to limit evidence regarding the

 4   apprehension reports, Plaintiff respectfully requests that this Court deny Defendants’ Motion in
 5   Limine #1.
 6
     Dated: April 27, 2017                               HADDAD & SHERWIN LLP
 7
                                                         /s/ Maya Sorensen
 8
                                                         Maya Sorensen
 9
                                                         Attorneys for Plaintiff
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